     Case 1:13-cr-00362-AWI-BAM Document 491 Filed 06/10/16 Page 1 of 2



1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
2    ERIC V. KERSTEN, Bar #226429
     Assistant Federal Defenders
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5    Counsel for Defendant
     LADONNA LEE MOON
6
7
8                                 IN THE UNITED STATES DISTRICT COURT
9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                      )   Case No. 1:13-cr-00362 AWI-5
                                                     )
12                        Plaintiff,                 )   APPLICATION FOR ORDER
                                                     )   EXTENDING SURRENDER DATE;
13             v.                                    )   ORDER
                                                     )
14    LADONNA LEE MOON,                              )
                                                     )
15                      Defendant.                   )   JUDGE: Hon. Anthony W. Ishii
                                                     )
                                                     )
16
17             Defendant Ladonna Lee Moon (Reg, No, 47131-177) hereby requests an extension of

18   time for her surrender to the United States Bureau of Prisons, to commence service of her term of

19   incarceration.

20             Ms. Moon was convicted at trial and timely filed her notice of appeal. She then filed a

21   motion for release pending appeal in the district court. The district court denied that motion and

22   set a voluntary surrender date of June 9, 2016.

23             On June 7, 2016, Ms. Moon filed with the Ninth Circuit Court of Appeals, an appeal of

24   the district court’s denial of her motion for bail pending appeal. Pursuant to Ninth Circuit Rule 9-

25   1.2(e):

26                  If the appellant is on bail at the time the motion [for bail pending appeal] is
                    filed in [the Ninth Circuit Court of Appeals], that bail will remain in effect
27                  until the Court rules on the motion.

28
     Case 1:13-cr-00362-AWI-BAM Document 491 Filed 06/10/16 Page 2 of 2


1             Pursuant to Ninth Circuit Rule 9-1.2(e), Ms. Moon requests that this Court enter an order
2    granting her immediate relief from the impending June 9, 2016 self-surrender date until the
3
     Ninth Circuit Court of Appeals rules on her pending motion for bail pending appeal.
4
              DATED: June 10, 2016
5
                                                                  HEATHER E. WILLIAMS
6                                                                 Federal Defender
7
                                                                   /s/ Eric V. Kersten
8                                                                 ERIC V. KERSTEN
                                                                  Assistant Federal Defender
9                                                                 Attorney for Defendant
                                                                  LADONNA LEE MOON
10
11
12                                                ORDER
13            Pursuant to Ninth Circuit Rule 9-1.2(e), the self-surrender date for Ladonna Moon is
14   continued until the Ninth Circuit Court of Appeals rules on Moon’s pending motion for bail
15   pending appeal.
16
17
18   IT IS SO ORDERED.
19
     Dated:    June 10, 2016
20                                                SENIOR DISTRICT JUDGE

21
22
23
24
25
26
27
28

       Moon: Application for Order                   -2-
       Extending Surrender Date
